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1                                                             The Honorable Richard A. Jones
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                             UNITED STATES DISTRICT COURT
7                           WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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9
       UNITED STATES OF AMERICA,                         NO. CR19-11RAJ
10
                            Plaintiff                    ORDER TERMINATING
11
                       v.                                DEFENDANT=S
12                                                       PARTICIPATION IN DREAM
                                                         PROGRAM AND DISMISSING
13                                                       CRIMINAL CHARGES BASED ON
       JENIFER LORRAINE HARDEN,                          SUCCESSFUL COMPLETION
14
                                                         OF DREAM PROGRAM
                            Defendant.
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            On August 29, 2019, the Defendant entered a guilty plea to Count 1 of an
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     Indictment charging her with bank embezzlement. Dkt. No. 20. The plea was entered
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     pursuant to a plea agreement. Dkt. No. 22. Subsequent to entry of the guilty plea, the
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     Defendant was accepted to participate in the Drug Reentry Alternative Model (DREAM)
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     program. Dkt. No. 26. The Defendant executed a contract memorializing her acceptance
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     and participation in the program. Dkt. No. 27.
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            The DREAM Executive Review Team, including the undersigned United States
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     District Judge, have determined that the Defendant has successfully complied with the
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     program requirements set forth in the DREAM contract. Having made this determination,
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     the Court hereby orders that:
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            1. Defendant’s participation in the DREAM program is terminated;
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      ORDER TERMINATING DEFENDANT’S PARTICIPATION                         UNITED STATES ATTORNEY
                                                                           700 STEWART ST., SUITE 5220
      IN DREAM PROGRAM AND DISMISSING CHARGES
                                                                           SEATTLE, WASHINGTON 98101
      HARDEN/CR19-11RAJ - 1                                                      (206) 553-7970
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1         2. On Defendant’s request, her previously entered guilty plea is withdrawn
2            pursuant to Federal Rule of Criminal Procedure 11(d)(2)(B), with the Court
3            finding a fair and just reason having been demonstrated by Defendant’s
4            successful completion of the DREAM program; and
5         3. On motion of the government under Federal Rule of Criminal Procedure 48(a),
6            the criminal charge filed against the Defendant in the above-captioned case is
7            dismissed with prejudice with good cause having been shown by Defendant’s
8            successful completion of the DREAM program.
9
10        DATED this 25th day of September 2020.
11
12                                                 A
13                                                 The Honorable Richard A. Jones
14                                                 United States District Judge
                                                   Western District of Washington
15                                                 DREAM Judicial Officer
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     ORDER TERMINATING DEFENDANT’S PARTICIPATION                       UNITED STATES ATTORNEY
                                                                        700 STEWART ST., SUITE 5220
     IN DREAM PROGRAM AND DISMISSING CHARGES
                                                                        SEATTLE, WASHINGTON 98101
     HARDEN/CR19-11RAJ - 2                                                    (206) 553-7970
